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                      UNITED STATES DISTRICT COURT


                           DISTRICT OF NEW JERSEY


  FRANK FIALL, Individually and on           )   No. 3:18-cv-01833-fLW-TJB
  Behalf of All Others Similarly Situated,   )
                                             )   CLASS ACTION
                            Plaintiff,       )               ORDER IN SUPPORT
        vs.                                      Of JOINT STIPULATION
                                             ‘
                                                 ESTABLISHING A SCHEDULE FOR
  JOHNSON & JOHNSON, et al.,                     LEAD PLAINTIFF TO FILE AN
                            Defendants.          AMENDED COMPLAINT AND
                                             .   DEFENDANTS’ RESPONSE TO THE
                                                 AMENDED COMPLAINT
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          PURSUANT TO STIPULATION, IT IS $0 ORDERED that:

          1.   Lead Plaintiff shall file and serve its amended complaiit by February 2$,

  2019.

          2.       Defendants shall file and serve their motion or motions to dismiss or

  otherwise respond to the amended complaint within 60 days thereafter.

          3.       Lead Plaintiff shall file and serve its opposition or oppositions to

  Defendants’ motion or motions to dismiss, if any, within 60 days thereafter.

          4.       Defendants shall file and serve their replies to Lead Plaintiffs opposition

  or oppositions, if any, within 30 days thereafter.

  DATED:       I
                     I
                          fJ (              THE HDNORABL FRIEDA L. WOLF SON
                                             UNrtED STATES DISTRICT JUDGE

  Submitted by:

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   & DOWD LLP
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  ARTHUR C. LEAHY
  ROBERT R. HEN$$LER JR.
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  MATTHEW J. BALOTTA


     s/ ROBERT R. HENS SLER JR.
      ROBERT R. HENS SLER JR.




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